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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                          Case No. 9-19-cv-81700-Civ-MIDDLEBROOKS/BRANNON


   HEALTHCARE RESOURCES MANAGEMENT
   GROUP, LLC, a Florida limited liability company,

             Plaintiff,

   vs.

   ECONATURA ALL HEALTHY WORLD, LLC, a
   foreign limited liability company, MEDTERRA
   CBD, LLC, a foreign limited liability company,
   REJUVENOL LABORATORIES, INC., a foreign
   corporation, and NOXENO HEALTH SCIENCES,
   INC., a foreign corporation,

             Defendants.

   ___________________________________________/

                      PLAINTIFF’S RESPONSE IN OPPOSITION TO
                DEFENDANTS’ MOTIONS FOR ATTORNEYS’ FEES AND COSTS

         Plaintiff, HEALTHCARE RESOURCES MANAGEMENT GROUP, LLC (“Plaintiff”),

   by and through undersigned counsel, hereby files this Response in Opposition to Defendants’

   Motions for Attorneys’ Fees and Costs [ECF No. 58] and [ECF No. 59] (collectively the

   “Motions for Fees”) and in support thereof states as follows:

                                              ARGUMENT

         Defendants’ Motions for Fees are premised upon the Florida Uniform Trade Secrets Act

   (“FUTSA”). See [ECF 058 at 4] and [ECF 059 at 3]. Under the FUSTA, a defendant is able

   to seek “reasonable attorney’s fees” if, and only if, (i) the defendant is actually a “prevailing

   party” and (ii) the “claim of misappropriation [of trade secrets] is made in bad faith.” See

   Fla. Stat. § 688.007. Defendants’ Motions for Fees fail both of the foregoing tests as a matter

   of law.


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            To the extent that Defendants’ Motions for Fees are not outright denied as a matter of

   law, an award of attorneys’ fees under the FUSTA could not be entered without an

   evidentiary hearing. In particular, Defendants must prove, through admissible evidence,

   that Plaintiff’s Amended Complaint constitutes “bad faith” under the FUSTA. See Fla. Stat.

   § 688.007. Absent an evidentiary showing of “bad faith,” as construed under applicable law,

   an award of attorneys’ fees would be improper even if Defendants were somehow found to be

   “prevailing parties.”1

            Defendants’ Motion for Fees fail on each of the aforementioned requirements. As a

   result, the Court should deny the Motions for Fees or, at a minimum, deferring ruling until

   a true “prevailing party” status has been established on the merits.

       I.        DEFENDANTS ARE NOT ENTITLED TO FEES BECAUSE THEY ARE NOT
                 PREVAILING PARTIES

            Of the utmost and central importance is the fact that no “prevailing party” has yet to

   be established in this litigation. Although the Court entered an Order dismissing Plaintiff’s

   Amended Complaint without prejudice, all of Plaintiff’s causes of action have been properly

   refiled before this same Court. See 9:20-cv-81501 at [ECF 001] (wherein said Complaint is

   identified as a “related/refiled case” to the above captioned litigation).2 Because Plaintiff’s



   1
    A defendant can only seek fees under the FUTSA if the defendant is found to be a bona fide “prevailing
   party” and if the plaintiff is found to have filed its claims in “bad faith.” To establish “bad faith” under
   FUTSA, the opposing party must establish that:
              (1) that plaintiff's claims were objectively specious or frivolous, and (2) that there is
              evidence of subjective misconduct. “Objective misconduct exists where there is a
              complete lack of evidence supporting Plaintiff's claims.” “Subjective misconduct exists
              where a plaintiff knows or is reckless in not knowing that its claim for trade secret
              misappropriation has no merit.” Subjective misconduct may be proven by direct
              evidence of actual knowledge or may be “inferred from the speciousness of plaintiff's
              trade secret claim and its conduct during litigation.” See Knights Armament Co. v.
              Optical Sys. Tech., Inc., 6:07-CV-1323-ORL, 2012 WL 3932863, at *4-5 (M.D. Fla. Aug.
              20, 2012).
   2
     A copy of the refiled Complaint and Civil Cover Sheet, which identifies it as a “related/refiled case”
   to the above captioned matter is attached hereto as Composite Exhibit “A.”

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   causes of action are still valid, and are indeed now pending before this Court, there cannot

   be a determination that any party is or is not presently a “prevailing party.” See Ffrench v.

   Ffrench, 418 F. Supp. 3d 1186 (S.D. Fla. 2019) (“dismissals without prejudice in general,

   usually do not qualify parties for prevailing party status.”) (citing Interim Healthcare Inc. v.

   Suncoast Loving Care, LLC, No. 18-60766, 2018 WL 6620314, at *3 (S.D. Fla. Nov. 28, 2018)).

      II.     DEFENDANTS CLAIMS ARE NOT BAD FAITH CLAIMS UNDER FUTSA

        Even if one or more of the Defendants were to somehow be deemed “prevailing parties,”

   which would be improper, an award of attorneys’ fees under the FUSTA would still be

   improper at this time because Defendants have failed to establish that Plaintiff’s trade

   secrets claim was made in “bad faith.” See Fla. Stat. § 688.007.

        To establish “bad faith” under FUSTA, the Defendants would have to prove “(1) that

   plaintiff's claims were objectively specious or frivolous, and (2) that there is evidence of

   subjective misconduct.” See Knights Armament Co. v. Optical Sys. Tech., Inc., 6:07-CV-1323-

   ORL, 2012 WL 3932863, at *4-5 (M.D. Fla. Aug. 20, 2012) (emphasis added).

        There is no evidence that Plaintiff’s claims, which survived a motion to dismiss and are

   not again pending before this Court, were “were objectively specious or frivolous….” See 9:20-

   cv-81501 at [ECF 001] .

        Moreover, there is no evidence of any “subjective misconduct” on the part of the

   Plaintiff. At worst, Plaintiff was subjected to a withdrawal of its legal counsel during a

   pandemic and, as a result thereof, was unable to secure replacement legal counsel as quickly

   as Plaintiff would have preferred. Plaintiff’s delay in securing legal counsel during the

   present pandemic should not result in a finding of “subjective misconduct” under the FUSTA.

   Delays in locating and obtaining legal counsel, especially during the present pandemic,

   cannot reasonably constitute “subjective misconduct.”       Legal citations for the foregoing



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   proposition are not readily available, but because the recent unprecedent events relating to

   Covid-19 make it impossible to find any such precedents.

         As a result, even if there was a “prevailing party,” which there is not, Defendants are

   not entitled to an award of attorneys’ fees because there is no legal showing of “bad faith.”

      III.    IF THE MOTIONS FOR FEES ARE NOT DENIED OUTRIGHT, THE MOTIONS
              SHOULD BE DEFERRED OR AN EVIDENTIARY HEARING IS NECESSARY AS TO THE
              ISSUE OF PURPORTED “BAD FAITH”

         As addressed above, Defendants Motions for Fees should be denied at this time because,

   as a matter of law, (i) there is no “prevailing party” and (ii) there is no “bad faith” on the part

   of Plaintiff. As a result, the Motions for Fees should be denied or, at a minimum, any ruling

   should be deferred until the substantive litigation is completed in the recently refiled matter.

   See 9:20-cv-81501 at [ECF 001].

         To the extent that the Motions for Fees are not denied or deferred, any award of fees

   under the FUSTA would be improper without an evidentiary hearing on the issue of

   purported “bad faith.” As a result, if this Court does not deny or defer as to the Motions for

   Fees pursuant to the FUSTA, the Court should conduct an evidentiary hearing regarding the

   issue of, inter alia, purported “bad faith.”




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           WHEREFORE, Plaintiff, HEALTHCARE RESOURCES MANAGEMENT GROUP,

   LLC, respectfully requests that this Court enter an Order (i) Denying, with or without

   prejudice, the Motions for Fees ([ECF No. 58] and [ECF No. 59]); (ii) to the extent the Motions

   for Fees are not denied outright, setting procedures and deadlines for an evidentiary hearing

   on the issue of purported “bad faith;” and (iii) granting such other relief as is just and proper.

   Dated: September 4, 2020.                    Respectfully submitted,

                                                HIRZEL DREYFUSS & DEMPSEY PLLC
                                                Counsel for Plaintiff
                                                2333 Brickell Ave, Suite A-1
                                                Miami, Florida 33129-2497
                                                Telephone: (305) 615-1617
                                                Facsimile: (305) 615-1585

                                                By: /s/ Patrick G. Dempsey
                                                       LEON F. HIRZEL
                                                        Florida Bar No. 085966
                                                        hirzel@hddlawfirm.com
                                                        PATRICK G. DEMPSEY
                                                        Florida Bar No. 27676
                                                        dempsey@hddlawfirm.com

                                  CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a copy of the foregoing was served via CM/ECF

   Notification to all parties registered to receive electronic notice on this 4th day of September,

   2020.

                                                By: /s/ Patrick G. Dempsey
                                                        PATRICK DEMPSEY




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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO.

   HEALTHCARE RESOURCES MANAGEMENT
   GROUP, LLC, a Florida limited liability company,

         Plaintiff,

   vs.

   ECONATURA ALL HEALTHY WORLD, LLC, a
   foreign limited liability company, MEDTERRA
   CBD, LLC, a foreign limited liability company,
   REJUVENOL LABORATORIES, INC., a foreign
   corporation, and NOXENO HEALTH SCIENCES,
   INC., a foreign corporation,

         Defendants.
   ______________________________________________/

                                        COMPLAINT

         Plaintiff,   HEALTHCARE        RESOURCES        MANAGEMENT         GROUP,      LLC

   (“HCRMG”),    by   and    through   undersigned    counsel,   hereby   sues   Defendants,

   ECONATURA ALL HEALTHY WORLD, LLC (“EcoNatura”), MEDTERRA CBD, LLC

   (“Medterra”), REJUVENOL LABORATORIES, INC. (“Rejuvenol”), and NOXENO

   HEALTH SCIENCES, INC. (“NoXeno”):

                         JURISDICTION, PARTIES AND VENUE

         1)     This is an action for misappropriation of trade secrets pursuant to the

   Florida Uniform Trade Secrets Act, Florida Statutes §688.001 et seq. as well as the

   Defend Trade Secrets Act, 18 U.S.C. §1836 et seq.; violations of the Florida Deceptive

   and Unfair Trade Practices Act, Florida Statutes §501.201 et seq.; and tortious

   interference with a business relationship, in which the respective parties’ citizenship is
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   diverse and the amount in controversy exceeds $75,000. This Court therefore has

   diversity subject matter jurisdiction pursuant to 28 U.S.C. §1332 , as well as original

   jurisdiction pursuant to 18 U.S.C. §1836(c) along with supplemental jurisdiction

   pursuant to 28 U.S.C. §1367.

          2)     Plaintiff, HCRMG, is a Florida limited liability company with its principal

   place of business in Palm Beach County, Florida. The members of HCRMG consist of

   Sam Genovese and Mercy Romero, both of whom are citizens and residents of Florida.

          3)     Defendant, EcoNatura, is a Delaware limited liability company with its

   principal place of business in Collier County, Florida. The members of EcoNatura

   consist of Richard and Jama Russano, both of whom are, upon information and belief,

   citizens of New York. This Court possesses personal jurisdiction over EcoNatura

   because such Defendant committed tortious acts causing injury to Plaintiff within

   Florida, and because EcoNatura conducts substantial and not isolated activity within

   Florida.

          4)     Defendant, Medterra, is a California limited liability company with its

   principal place of business in Orange County, California. The members of Medterra

   consist of J.P. Larsen, John “Jay” Hartenbach, and Chaz Owens, all of whom, upon

   information and belief, are citizens and residents of California. This Court possesses

   personal jurisdiction over Medterra because such Defendant committed tortious acts

   causing injury to Plaintiff within Florida.

          5)     Defendant, Rejuvenol, is a New York corporation with its principal place

   of business in Suffolk County, New York. This Court possesses personal jurisdiction

   over Rejuvenol because such Defendant committed tortious acts causing injury to



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   Plaintiff within Florida.

          6)     Defendant, NoXeno, is a Delaware corporation with its principal place of

   business in New Castle County, Delaware. This Court possesses personal jurisdiction

   over NoXeno because such Defendant committed tortious acts causing injury to

   Plaintiff within Florida.

          7)     Venue is proper in this Court pursuant to 28 U.S.C. §1391(b)(2) because a

   substantial part of the events or omissions giving rise to Plaintiff’s claims occurred

   within this judicial district including, without limitation: electronic communications

   originated within this district by which the subject trade secrets were obtained by the

   Defendants; payments were made to Plaintiff within this district pursuant to the

   subject business relationship; and Plaintiff suffered substantial harm within this

   district as a result of the Defendants’ misconduct to be detailed below.

                                 GENERAL ALLEGATIONS

          8)     Plaintiff HCRMG is a leading producer of pharmaceutical-grade hemp

   products intended for the healthcare and veterinary markets. HCRMG formulates its

   own proprietary blend of ingredients for use in various products including sublingual

   oils (i.e., taken orally and applied under the tongue), gelcaps, dissolvable tablets,

   gummies and muscle creams. Although HCRMG sells and markets its products under

   its own Pharmalieve™ brand, it also produces similar hemp products for various

   distributors on a “white label” basis. HCRMG contracts with third-party production

   facilities to manufacture the products it sells and distributes.

          9)     All of HCRMG’s products include compounds derived from industrial

   hemp. Hemp is a distinct strain of the Cannabis sativa plant with a lower concentration



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   of delta-9 tetrahydrocannabinol (“THC”) – the active ingredient in marijuana known for

   its psychoactive effects on users. Although hemp contains a lower concentration of

   THC, it contains higher amounts of cannabidiol (“CBD”) which is a non-psychoactive

   ingredient believed to have various beneficial effects including pain relief, reduction of

   anxiety and as a sleep aid. All of HCRMG’s products contain a THC concentration of no

   more than 0.3 percent on a dry weight basis and are incapable of producing

   psychoactive effects.

          10)    As of December 20, 2018, all hemp and hemp-derived products containing

   a THC concentration of not more than 0.3 percent on a dry weight basis have been de-

   scheduled from the Controlled Substances Act of 1970, 21 U.S.C. ch.13, §801 et seq.,

   pursuant to the Agriculture Improvement Act of 2018, Public Law no. 115-334.

          11)    Similarly, hemp and hemp-derived cannabinoids containing a THC

   concentration of no more than 0.3 percent on a dry weight basis are not considered

   controlled substances under Florida law as per Florida Statutes §581.217.

          12)    In or around August of 2017, HCRMG was introduced to EcoNatura

   through one of HCRMG’s customers.

          13)    As of such time frame, HCRMG was utilizing a factory in Arizona to

   manufacture a CBD-based pain cream intended for topical application to reduce muscle

   soreness and joint pain. Upon being introduced to EcoNatura, one of EcoNatura’s

   principals and owners – Jama Russano (“Russano”) – advised HCRMG that EcoNatura

   had extensive experience with manufacturing creams and lotions and that it could

   reformulate HCRMG’s pain cream into a superior product. Nevertheless, EcoNatura

   had no prior experience with producing or manufacturing CBD-based or other hemp-



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   derived products.

         14)    EcoNatura    manufactures    its   products   through   a   laboratory   and

   production facility located in New York which is owned and operated by Defendant

   Rejuvenol.

         15)    Upon meeting Russano, Sam Genovese (“Genovese”) - one of the principals

   and owners of HCRMG – discussed the prospect of entering into a joint venture

   relationship with EcoNatura for the production and distribution of CBD-based

   products. These discussions contemplated the merger of EcoNatura and another entity

   with which Genovese was involved – FoxFire Edibles, LLC (“FoxFire”) – into Defendant

   NoXeno as a parent company. The intent behind the planned NoXeno joint venture was

   to assemble a team of individuals and entities with expertise in all aspects of the

   burgeoning cannabis industry including growing, cultivation, extraction and blending

   into a variety of CBD-based products for marketing and sale through various retail and

   online channels.

         16)    On or about January 25, 2018, Genovese on behalf of FoxFire and

   Russano on behalf of EcoNatura and NoXeno executed a Mutual Non-Disclosure

   Agreement (the “NoXeno NDA”) which, among other terms, obligated the respective

   parties to refrain from using or disclosing to third parties any “Confidential

   Information” exchanged under the terms of the NoXeno NDA outside of the parties’

   intended joint venture relationship. The NoXeno NDA expressly defined “Confidential

   Information” to include, without limitation: “information relating to the Disclosing

   Party’s products, operations, processes, plans or intentions, product information, know-

   how, design rights, trade secrets, market opportunities, business plans, pricing,



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   marketing strategies, and business affairs.” Although HCRMG was not a party to the

   NoXeno NDA, Russano and Genovese discussed and contemplated rolling HCRMG’s

   Pharmalieve™ product line into the NoXeno joint venture in order to legitimize the

   venture to prospective investors using HCRMG’s proven track record of generating

   revenue with its Pharmalieve™ products.

         17)    Shortly after the execution of the NoXeno NDA, HCRMG began to work

   with EcoNatura as of early 2018 for the purpose of reformulating and manufacturing a

   CBD-based pain cream. Additionally, HCRMG discussed with EcoNatura the possibility

   of manufacturing other CBD-based items including a roll-on formula as well as a

   psoriasis cream – the ideas for which were conceived of solely by HCRMG.

         18)    Because of the prior execution of the NoXeno NDA, HCRMG felt

   comfortable exchanging its proprietary and confidential information with EcoNatura

   and the parties acted as if the NoXeno NDA was applicable to HCRMG’s confidential

   information. Although HCRMG forwarded its own confidentiality and non-circumvent

   agreement to Russano in January, 2018 for execution by EcoNatura, Russano refused

   to execute it and advised HCRMG that it was unnecessary since EcoNatura was

   already a party to the NoXeno NDA and that the NoXeno NDA would apply to any

   transactions between HCRMG and EcoNatura.

         19)    Throughout March and April of 2018, HCRMG transmitted via email from

   its principal office in Palm Beach County, Florida to EcoNatura at its principal office in

   Collier County, Florida, various confidential and proprietary information including a

   wholesale pricing matrix for HCRMG’s Pharmalieve™ product line and the ingredient

   list and formula for HCRMG’s CBD-based pain cream (“CBD Cream”) to be produced by



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   EcoNatura and manufactured by Rejuvenol. HCRMG initially intended to market the

   CBD Cream under its own Pharmalieve™ brand, and Genovese continued to discuss

   with Russano rolling the CBD Cream – along with the remainder of the Pharmalieve™

   product line –into the NoXeno joint venture for purposes of enhancing the appearance

   of profitability of the venture to prospective investors.

          20)    As per their discussions, EcoNatura produced the CBD Cream via

   starting with HCRMG’s proprietary formula as a base and adding some additional

   ingredients to enhance the texture and viscosity of the product, with the finished

   product manufactured by Rejuvenol at its New York laboratory. At all times material

   hereto, Rejuvenol had been advised by HCRMG and was otherwise aware that the CBD

   Cream it was manufacturing on behalf of HCRMG and EcoNatura was primarily based

   upon HCRMG’s confidential and proprietary formula.

          21)    Almost immediately after HCRMG, EcoNatura and Rejuvenol began

   working together to produce the CBD Cream towards the end of March, 2018,

   principals of Defendant Medterra contacted HCRMG and inquired about the feasibility

   of HCRMG producing a CBD-based pain cream to be sold under Medterra’s branding.

   Medterra was an existing client of HCRMG since HCRMG had previously produced

   CBD-based items for Medterra dating back to mid-2017.

          22)    As of the first quarter of 2018, Medterra had already established itself as

   a recognized brand for hemp products being sold in California. HCRMG therefore

   advised Medterra in late March, 2018 that it had recently begun production of its

   proprietary CBD Cream and that HCRMG would be willing to produce the same

   formula for Medterra on a “white label” basis to enable Medterra to market the CBD



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   Cream under its own branding.

         23)    In or around early April, 2018, HCRMG began forwarding purchase

   orders for the CBD Cream to EcoNatura on behalf of Medterra as well as other

   wholesale customers with whom HCRMG was working, in addition to orders intended

   to be sold directly by HCRMG under its Pharmalieve™ brand. EcoNatura coordinated

   the manufacturing of the CBD Cream with Rejuvenol and arranged for the product to

   be packaged, labeled and distributed according to the unique requirements (such as, for

   example, the size and type of container, labeling and branding) for each order and the

   customer(s) for whom the order was intended. At all times material hereto, HCRMG

   would bill its customers for each order of the CBD Cream and, upon receipt of payment

   at its principal business address, distribute amounts owed to EcoNatura as per its

   invoices reflecting production and distribution costs. Upon its receipt of such payments,

   EcoNatura in turn would distribute amounts owing to Rejuvenol.

         24)    As of June, 2018, HCRMG was working with EcoNatura and Rejuvenol to

   produce the CBD Cream on behalf of at least two other wholesale customers in addition

   to inventory being produced for Medterra, as well as inventory being produced for

   HCRMG’s Pharmalieve™ brand.

         25)    Shortly after HCRMG began producing its CBD Cream through

   EcoNatura and Rejuvenol, problems began to arise. For example, between June and

   September of 2018 HCRMG was receiving complaints from Medterra and at least one

   other wholesale customer about the packaging in which the CBD Cream inventory was

   distributed. Specifically, HCRMG’s wholesale customers were complaining that the

   CBD Cream was leaking during shipment, thereby compromising the salability of the



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   inventory.

          26)    Moreover, the inventory yielded by each production run of the CBD

   Cream reformulated by EcoNatura and manufactured by Rejuvenol was lower than it

   should have been considering the volume of base ingredients devoted to each

   production. This resulted in higher production costs.

          27)    HCRMG was also fielding complaints from Medterra as of September,

   2018 concerning CBD Cream inventory received from EcoNatura and Rejuvenol with

   labeling problems which included incorrect volume designations and labels not properly

   affixed to the containers (i.e., peeling/bubbling, etc.).

          28)    Medterra additionally began to raise cost concerns regarding the CBD

   Cream to HCRMG throughout September, 2018. Medterra advised that it had access to

   other suppliers willing to produce a similar product for half of the cost of the CBD

   Cream produced by HCRMG through EcoNatura and Rejuvenol, although Medterra

   conceded that it believed HCRMG’s product to be of superior quality. In response to

   such concerns, HCRMG emphasized that the total cost was a function of the expenses

   incurred to obtain, process and blend the individual ingredients into the finished

   product. However, HCRMG was also aware that the production costs for the CBD

   Cream were being dictated by EcoNatura and Rejuvenol without substantiation and

   that HCRMG had no means of independently verifying the legitimacy of such costs.

          29)    By September, 2018, HCRMG, EcoNatura and Rejuvenol had produced,

   manufactured and distributed tens of thousands of individual containers of CBD Cream

   to Medterra for retail sale to its customers using Medterra’s own branding, which

   containers ranged in quantity from 250-750 milligrams (for individual resale) up to a



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   gallon (for samples).

          30)    Pleased with the quality of the CBD Cream, Medterra began to express

   interest to HCRMG about production of other hemp-derived products. In September,

   2018, Medterra requested contact information from HCRMG for its manufacturing

   subcontractors in order to directly discuss the possibility of producing a variety of

   hemp-derived products. HCRMG therefore provided Medterra with Russano’s contact

   information but emphasized that HCRMG needed to be copied on all correspondence

   between Medterra and EcoNatura.

          31)    Throughout the latter part of September and continuing through October,

   2018, Medterra began to routinely correspond directly with EcoNatura regarding the

   formulation of a variety of CBD-based products and Genovese was copied on some, but

   not all of such correspondence. In certain instances Medterra would send emails

   requesting feedback on potential new product ideas to Russano on which Genovese was

   not initially copied, and Russano would respond via email on which she copied

   Genovese.

          32)    On or about November 13, 2018, Medterra emailed Russano to inquire

   whether EcoNatura was manufacturing the CBD Cream exclusively for Medterra.

   Neither Genovese nor anyone on behalf of HCRMG was copied on such correspondence.

          33)    The following day, Russano replied to Medterra via email in which she

   copied Genovese and confirmed that HCRMG and EcoNatura “will make this

   formulation an exclusive for Medterra.” However, HCRMG never authorized EcoNatura

   to represent to wholesale customers that the CBD Cream was exclusively available to

   any one customer since at that time the same (or a very similar) formulation was being



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   white-labeled to multiple wholesale customers as well as being sold directly by HCRMG

   under its Pharmalieve™ brand.

         34)     Accordingly, and in an effort to control the potential damage caused by

   EcoNatura’s unauthorized representations, Genovese on November 14, 2018 responded

   to Medterra via email by indicating that HCRMG would be willing to contract with

   Medterra to make the CBD Cream an exclusive product if the parties were able to agree

   upon pricing terms. Genovese specifically reminded Medterra in his November 14th

   email that the CBD Cream was primarily based upon HCRMG’s proprietary formula

   which was also being used for white labeling and direct retail sales to other customers.

         35)    Medterra did not respond to Genovese’s November 14th email, but

   continued to correspond via email with EcoNatura throughout December, 2018 and

   January, 2019 regarding new purchase orders and ingredient formulations for the CBD

   Cream. Genovese was copied on some, but not all, of such email correspondence.

         36)    Sensing that HCRMG was being increasingly excluded from the ongoing

   correspondence between Medterra and EcoNatura despite the fact that Medterra was

   HCRMG’s client, Genovese emailed an updated confidentiality and non-disclosure

   agreement to both Medterra and EcoNatura on January 22, 2019 in order to

   memorialize the terms of their ongoing business relationship and to protect each

   entity’s intellectual property. Neither Medterra nor EcoNatura executed, or even

   acknowledged receipt of, the updated agreement.

         37)    The following day, Medterra placed a new order via email for more than

   80,000 units of the CBD Cream directly with EcoNatura. Neither Genovese nor anyone

   on behalf of HCRMG was copied on such correspondence.



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         38)    On February 27, 2019, Medterra sent a new purchase order for the CBD

   Cream via email to EcoNatura, copying Genovese on behalf of HCRMG. The February

   27th purchase order incorrectly designated Rejuvenol, rather than HCRMG, as the

   vendor.

         39)    Later that evening, Genovese replied to Medterra via email in which he

   explained that the vendor for the CBD Cream was HCRMG and that HCRMG was

   responsible for processing orders and receiving payments. Genovese therefore requested

   that Medterra revise the February 27th purchase order to reflect HCRMG as the proper

   vendor. Medterra did in fact issue a revised purchase order on February 28, 2019 to

   reflect HCRMG as the vendor.

         40)    On March 3, 2019, Genovese on behalf of HCRMG forwarded a

   subcontractor agreement to Russano on behalf of EcoNatura via email. The

   subcontractor agreement contained extensive provisions delineating the terms of the

   contracting relationship between HCRMG and EcoNatura (which by that point had

   been ongoing for more than one year) as well as protecting each entity’s intellectual

   property. Russano replied the following morning and initially indicated that she would

   discuss it with her business partner.

         41)    However, Russano thereafter did not react favorably to HCRMG’s

   subcontractor agreement and ultimately refused to execute it on behalf of EcoNatura.

   From that point forward, the business relationship between HCRMG and EcoNatura

   began to deteriorate.

         42)    On March 29, 2019, Genovese emailed Russano concerning a delivery

   issue with respect to a ground shipment of CBD Cream that was to go directly from



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   Rejuvenol’s laboratory in New York to a customer warehouse in Delray Beach, Florida.

   Genovese indicated in his March 29th email that the shipment was sent by Rejuvenol

   without alerting HCRMG or the customer that the shipment was en route, and that

   HCRMG was able to successfully divert the shipment to an alternate location when

   Genovese by chance happened to inquire about the shipment to the freight carrier

   before it was attempted to be delivered. Had the shipment not been timely diverted, the

   customer would not have had the staff on hand to receive it without prior notice. As a

   result of this close call, Genovese indicated to Russano that HCRMG would be

   implementing new procedures for EcoNatura and Rejuvenol to follow with respect to

   future deliveries.

          43)    Russano reacted to Genovese’s March 29th email with indignation. Later

   that morning, she replied to Genovese by indicating that “things happen” and that she

   “really [doesn’t] need a lecture every time something doesn’t go perfectly.”

          44)    HCRMG thereafter attempted to implement clearly-defined procedures for

   EcoNatura and Rejuvenol to follow with respect to production and distribution of

   products for HCRMG customers. In connection therewith, HCRMG’s co-owner and

   managing partner, Mercy Romero, emailed Russano on behalf of EcoNatura on April 1,

   2019 with various questions concerning the costs involved in producing the CBD Cream

   through Rejuvenol.

          45)    Russano replied later that evening with answers that were evasive and

   incomplete. Essentially, EcoNatura refused to divulge the basis for the cost of

   components used to formulate and produce the CBD Cream. HCRMG therefore had no

   visibility into the production costs and, accordingly, no way of addressing ongoing



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   concerns raised by its customers – such as Medterra – that the wholesale cost of the

   CBD Cream was too expensive.

         46)    EcoNatura and Rejuvenol continued to have manufacturing issues with

   the CBD Cream throughout the month of April, 2019. Specifically, HCRMG took the

   initiative to have samples of the CBD Cream produced by EcoNatura and

   manufactured by Rejuvenol tested by an independent laboratory in order to determine

   whether the finished product contained the correct level of moisture.

         47)    HCRMG received the test results on or about April 17, 2019, reflecting

   that the CBD Cream contained vastly excessive percentages of water which

   compromised the texture and effectiveness of the finished product, as well as promoted

   dangerous microbial growth. Upon confronting EcoNatura with the test results,

   Russano reacted with apathy and recalcitrance.

         48)    Realizing that the current trajectory of its business relationship with

   EcoNatura and Rejuvenol was proving to be unworkable, HCRMG began making

   arrangements to shift the production and distribution of the CBD Cream to more

   capable and willing subcontractors.

         49)    Nevertheless, Russano included references to HCRMG’s Pharmalieve™

   product line in NoXeno marketing materials generated in April, 2019 which were

   intended for prospective investors.

         50)    On April 24, 2019, HCRMG emailed Medterra to propose a new pricing

   structure along with the alternative to maintain the current CBD Cream formula using

   different manufacturing subcontractors or to slightly modify the formula which

   Medterra would own outright, also using new manufacturing subcontractors. By



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   moving the production and distribution efforts away from EcoNatura and Rejuvenol,

   HCRMG was confident it could reduce the wholesale cost of the CBD Cream and pass

   the savings to Medterra and other customers.

         51)    Medterra acknowledged receipt of the April 24th email, but otherwise did

   not follow up with or respond to HCRMG.

         52)    Throughout the month of May, 2019, HCRMG took steps to close out and

   finalize its remaining invoices with EcoNatura in anticipation of moving the production

   and distribution of the CBD Cream to different subcontractors.

         53)    On May 15, 2019, NoXeno sent a letter to Genovese indicating that

   Genovese’s involvement in the NoXeno joint venture was being terminated effective

   immediately. The May 15th letter criticized Genovese for recently indicating that

   HCRMG was withdrawing its Pharmalieve™ product line from the joint venture, and

   NoXeno warned Genovese in the letter that he should “refrain from infringing any

   intellectual property rights of the group as they will be defended vigorously.”

         54)    Although HCRMG had uniformly and consistently handled the billing and

   payment arrangements with its clients over the course of the approximately eighteen

   months it had been working with EcoNatura, on or about June 5, 2019 Russano on

   behalf of EcoNatura sent a letter directly to Medterra requesting payment of four

   invoices which were then outstanding. Russano’s June 5th letter included an itemization

   of separate amounts owing to both EcoNatura and HCRMG and furthermore revealed

   HCRMG’s profit margins.

         55)    Subsequent to Medterra’s receipt of Russano’s June 5th letter, HCRMG

   received no further orders from Medterra.



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          56)     Nevertheless, upon information and belief Medterra continues to sell the

   CBD Cream produced by EcoNatura and manufactured by Rejuvenol using in

   substantial part HCRMG’s proprietary formula, and the Defendants have reaped

   hundreds of thousands (if not millions) of dollars from the sale thereof. Moreover,

   NoXeno has continued to solicit investors using the revenue stream generated by

   EcoNatura’s sales of the CBD Cream (again, based in substantial part upon HCRMG’s

   proprietary formula) to Medterra as a proof of concept. Although HCRMG through

   counsel has demanded that Medterra, EcoNatura and Rejuvenol cease and desist from

   the further production and sale of CBD Cream based upon HCRMG’s formula, these

   Defendants have ignored such demands.

          57)     All conditions precedent to this action have occurred, been performed, or

   been waived.

   COUNT I – VIOLATIONS OF THE FLORIDA UNIFORM TRADE SECRETS ACT
                      (Florida Statutes §§688.01 et seq.)
                          (against all Defendants)

          58)     Plaintiff hereby reasserts and realleges the allegations contained in

   paragraphs 1-57 as if fully set forth herein.

          59)     The formula for HCRMG’s proprietary CBD Cream derives independent

   economic value, actual or potential, from not being generally known to, and not being

   readily ascertainable by proper means by, other persons who can obtain economic value

   from its disclosure or use. Specifically, HCRMG expended substantial time, money and

   effort in developing the formula for its CBD Cream, the sale of which has generated

   significant revenue for HCRMG. The CBD Cream formula consists not only of the

   combination of specific ingredients; it also includes the relative percentages of each



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   individual ingredient and the manner in which the specific amount of each ingredient

   gets blended with the remaining ingredients to form the finished product.

         60)    HCRMG employs reasonable efforts to maintain the secrecy of its CBD

   Cream formula, including refraining from publicly disclosing same and entering into

   non-disclosure agreements with its subcontractors and wholesale customers for whom

   the formula is white-labeled.

         61)    Accordingly, the formula for HCRMG’s CBD Cream is a trade secret

   under Florida law.

         62)    By virtue of their express and/or implied confidential business

   relationship, HCRMG entrusted Medterra, EcoNatura, Rejuvenol and NoXeno with

   highly sensitive confidential information including, without limitation, the formula for

   HCRMG’s proprietary CBD Cream.

         63)    At all times material hereto, each of the Defendants was aware that

   HCRMG’s disclosure to each of them of the formula for the CBD Cream was done

   strictly in furtherance of the parties’ business relationship and that HCRMG never

   authorized any of the Defendants to use or disclose the formula for HCRMG’s CBD

   Cream other than in furtherance of the confidential business relationship between

   HCRMG, Medterra, EcoNatura, Rejuvenol and NoXeno.

         64)    Medterra, EcoNatura, Rejuvenol and NoXeno misappropriated the

   formula for HCRMG’s CBD Cream by continuing to use same outside of the parameters

   of any business relationship with HCRMG and without HCRMG’s consent, by which the

   Defendants have reaped significant profits in connection therewith - none of which have

   been distributed to HCRMG.



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          65)    Medterra’s, EcoNatura’s, Rejuvenol’s and NoXeno’s misappropriation of

   the formula for HCRMG’s CBD Cream was done willfully and maliciously because all of

   the Defendants were acutely aware of the highly sensitive and confidential nature of

   the formula and HCRMG’s ownership thereof, and nevertheless proceeded to

   commercially utilize the formula in order to generate significant profits while purposely

   excluding HCRMG from such enterprise.

          66)    As a direct and proximate result of Medterra’s, EcoNatura’s, Rejuvenol’s

   and NoXeno’s ongoing misappropriation of HCRMG’s trade secrets, HCRMG has

   suffered and continues to suffer substantial damages.

          WHEREFORE, Plaintiff respectfully requests entry of a judgment against

   Medterra, EcoNatura, Rejuvenol and NoXeno awarding damages, injunctive relief,

   attorneys’ fees and costs, pre- and post-judgment interest, and such other and further

   relief this Court deems just and proper.

         COUNT II – VIOLATIONS OF THE DEFEND TRADE SECRETS ACT
                           (18 U.S.C. §§1836 et seq.)
                           (against all Defendants)

          67)    Plaintiff hereby reasserts and realleges the allegations contained in

   paragraphs 1-57 as if fully set forth herein.

          68)    The formula for HCRMG’s proprietary CBD Cream derives independent

   economic value, actual or potential, from not being generally known to, and not being

   readily ascertainable by proper means by, other persons who can obtain economic value

   from its disclosure or use. Specifically, HCRMG expended substantial time, money and

   effort in developing the formula for its CBD Cream, the sale of which has generated

   significant revenue for HCRMG. The CBD Cream formula consists not only of the



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   combination of specific ingredients; it also includes the relative percentages of each

   individual ingredient and the manner in which the specific amount of each ingredient

   gets blended with the remaining ingredients to form the finished product.

         69)    HCRMG employs reasonable efforts to maintain the secrecy of its CBD

   Cream formula, including refraining from publicly disclosing same and entering into

   non-disclosure agreements with its subcontractors and wholesale customers for whom

   the formula is white-labeled.

         70)    HCRMG actively sells and/or white labels the CBD Cream for use in

   interstate commerce.

         71)    Accordingly, the formula for HCRMG’s CBD Cream is a trade secret

   under federal law.

         72)    By virtue of their express and/or implied confidential business

   relationship, HCRMG entrusted Medterra, EcoNatura, Rejuvenol and NoXeno with

   highly sensitive confidential information including, without limitation, the formula for

   HCRMG’s proprietary CBD Cream.

         73)    At all times material hereto, each of the Defendants was aware that

   HCRMG’s disclosure to each of them of the formula for the CBD Cream was done

   strictly in furtherance of the parties’ business relationship and that HCRMG never

   authorized any of the Defendants to use or disclose the formula for HCRMG’s CBD

   Cream other than in furtherance of the confidential business relationship between

   HCRMG, Medterra, EcoNatura, Rejuvenol and NoXeno.

         74)    Medterra, EcoNatura, Rejuvenol and NoXeno misappropriated the

   formula for HCRMG’s CBD Cream by continuing to use same outside of the parameters



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   of any business relationship with HCRMG and without HCRMG’s consent, by which the

   Defendants have reaped significant profits in connection therewith - none of which have

   been distributed to HCRMG.

          75)    Medterra’s, EcoNatura’s, Rejuvenol’s and NoXeno’s misappropriation of

   the formula for HCRMG’s CBD Cream was done willfully and maliciously because all of

   the Defendants were acutely aware of the highly sensitive and confidential nature of

   the formula and HCRMG’s ownership thereof, and nevertheless proceeded to

   commercially utilize the formula in order to generate significant profits while purposely

   excluding HCRMG from such enterprise.

          76)    As a direct and proximate result of Medterra’s, EcoNatura’s, Rejuvenol’s

   and NoXeno’s ongoing misappropriation of HCRMG’s trade secrets, HCRMG has

   suffered and continues to suffer substantial damages.

          WHEREFORE, Plaintiff respectfully requests entry of a judgment against

   Medterra, EcoNatura, Rejuvenol and NoXeno awarding damages, injunctive relief,

   attorneys’ fees and costs, pre- and post-judgment interest, and such other and further

   relief this Court deems just and proper.

      COUNT III – VIOLATIONS OF THE FLORIDA DECEPTIVE AND UNFAIR
          TRADE PRACTICES ACT (Florida Statutes §§501.201 et seq.)
                    (against Medterra, EcoNatura and NoXeno)

          77)    Plaintiff hereby reasserts and realleges the allegations contained in

   paragraphs 1-57 as if fully set forth herein.

          78)    HCRMG, Medterra, EcoNatura and NoXeno were engaged in the conduct

   of a trade or commerce, as defined by Florida Statutes §501.203(8), by virtue of

   EcoNatura’s production of the CBD Cream primarily based upon HCRMG’s proprietary



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   formula on behalf of Medterra as a wholesale customer for purposes of enabling

   Medterra to ultimately resell the CBD Cream to retail customers. The revenues from

   such sales were touted by NoXeno to prospective investors as a proof of concept for

   purposes of encouraging outside capital infusion into the NoXeno joint venture.

         79)    HCRMG was the architect of its business relationship with Medterra and

   EcoNatura, since Medterra was an existing client of HCRMG at the time HCRMG

   retained EcoNatura to produce the CBD Cream on Medterra’s behalf and EcoNatura

   otherwise had no prior experience with production or sales of CBD-based products.

   Additionally, HCRMG’s proven track record of revenue generation with CBD products

   enabled NoXeno to portray itself to prospective investors as a profitable enterprise to

   the extent NoXeno relied upon HCRMG’s sales history and product line in NoXeno’s

   marketing materials.

         80)    At all times material hereto, HCRMG emphasized to EcoNatura and

   NoXeno, and EcoNatura and Noxeno were otherwise aware, that Medterra was a

   preexisting client of HCRMG.

         81)    Similarly, HCRMG emphasized to Medterra that EcoNatura was

   HCRMG’s subcontractor and that any communications between Medterra and

   EcoNatura needed to be disclosed to HCRMG.

         82)    Nevertheless, Medterra, EcoNatura and NoXeno eventually formed a new,

   competing business relationship from which HCRMG was excluded, and which was

   premised upon the continued utilization of HCRMG’s proprietary CBD Cream formula

   under circumstances where Medterra, EcoNatura and NoXeno were aware that such

   continued utilization was unauthorized. Moreover, Plaintiff has been informed and



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   believes that EcoNatura has capitalized upon HCRMG’s ideas for a CBD-based roll-on

   as well as a psoriasis cream by producing these items for sale to Medterra and other

   wholesale customers, the revenues from which are being used to solicit new investors

   for NoXeno, subsequent to the Defendants’ exclusion of HCRMG from the parties’

   ongoing business relationship.

          83)     Medterra, EcoNatura and NoXeno therefore engaged in unfair methods of

   competition, unconscionable acts or practices, and/or unfair or deceptive acts or

   practices in the conduct of a trade or commerce as prohibited by Florida Statutes

   §501.204(1).

          84)     As a direct and proximate result of Medterra’s, EcoNatura’s and NoXeno’s

   misconduct as described above, Plaintiff has suffered actual damages.

          WHEREFORE, Plaintiff respectfully requests entry of a judgment against

   Medterra, EcoNatura and NoXeno awarding actual damages, injunctive relief,

   attorneys’ fees and costs, pre- and post-judgment interest, and such other and further

   relief this Court deems just and proper.

            COUNT IV – TORTIOUS INTERFERENCE WITH A BUSINESS
                               RELATIONSHIP
                             (against EcoNatura)

          85)     Plaintiff hereby reasserts and realleges the allegations contained in

   paragraphs 1-57 as if fully set forth herein.

          86)     At all times material hereto, HCRMG was a party to an ongoing business

   relationship with Medterra which relationship predated HCRMG’s introduction to

   EcoNatura.

          87)     Subsequent to its introduction to HCRMG, EcoNatura was made aware of



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   HCRMG’s preexisting business relationship with Medterra.

          88)    Despite such awareness, EcoNatura proceeded to intentionally and

   unjustifiably interfere with the business relationship between HCRMG and Medterra

   by forming a competing business relationship with Medterra to the exclusion of

   HCRMG while using HCRMG’s proprietary CBD Cream formula as well as HCRMG’s

   concepts of a CBD-based roll-on and psoriasis cream.

          89)    In connection therewith, EcoNatura refused to divulge to HCRMG the

   basis for the cost of producing the CBD Cream notwithstanding HCRMG’s repeated

   requests for such information. This enabled EcoNatura to undercut the wholesale prices

   HCRMG was quoting to Medterra once EcoNatura successfully excluded HCRMG from

   doing further business with Medterra. EcoNatura furthermore divulged to Medterra,

   without prior authorization, HCRMG’s profit margin with respect to the CBD Cream

   which caused additional damage to HCRMG’s relationship with Medterra.

          90)    Accordingly, EcoNatura’s intentional and unjustified interference with

   HCRMG’s business relationship with Medterra was done maliciously and in bad faith

   with the specific intent to cause harm to Plaintiff.

          91)    As a direct and proximate result of EcoNatura’s intentional and

   unjustified interference as discussed above, Plaintiff has suffered substantial damages.

          WHEREFORE, Plaintiff respectfully requests entry of a judgment against

   EcoNatura awarding damages, pre- and post-judgment interest, and such other and

   further relief this Court deems just and proper.

                                DEMAND FOR JURY TRIAL

          Plaintiff, HCRMG, hereby demands a trial by jury on all claims so triable.



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   HIRZEL DREYFUSS & DEMPSEY, PLLC, 2333 BRICKELL AVENUE, SUITE A-1, MIAMI, FLORIDA 33129
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   Respectfully submitted on this 3rd day of September, 2020.

                             HIRZEL DREYFUSS & DEMPSEY, PLLC
                             Counsel for Plaintiff, HCRMG
                             2333 Brickell Avenue, Suite A-1
                             Miami, FL 33129
                             Phone: 305-615-1617

                             By:    /s/ Leon F. Hirzel
                                        LEON F. HIRZEL (Fla Bar No. 085966)
                                        hirzel@hddlawfirm.com
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   HIRZEL DREYFUSS & DEMPSEY, PLLC, 2333 BRICKELL AVENUE, SUITE A-1, MIAMI, FLORIDA 33129
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The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose
of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.) NOTICE: Attorneys MUST Indicate All Re-filed Cases Below.
I. (a)     PLAINTIFFS                                                                                               DEFENDANTS
                                   Healthcare Resources Management Group, LLC                                                                  EcoNatura All Healthy World, LLC, Medterra
                                                                                                                                               CBD, LLC, Rejuvenol Laboratories, Inc., and
                                                                                                                                               Noxeno Health Sciences, Inc.
   (b) County of Residence of First Listed Plaintiff Palm Beach County, FL                                          County of Residence of First Listed Defendant
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                                 (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                    NOTE:                      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                               THE TRACT OF LAND INVOLVED.
   (c) Attorneys (Firm Name, Address, and Telephone Number)                                                          Attorneys (If Known)
                        Hirzel Dreyfuss & Dempsey, PLLC
                        2333 Brickell Avenue, Suite A-1
                        Miami, FL 33129 Tel: 305-615-1617
(d) Check County Where Action Arose:                  MIAMI- DADE         MONROE         BROWARD           PALM BEACH        MARTIN    ST. LUCIE       INDIAN RIVER     OKEECHOBEE        HIGHLANDS


II. BASIS OF JURISDICTION                            (Place an “X” in One Box Only)                III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff)
                                                                                                                (For Diversity Cases Only)                                        and One Box for Defendant)
    1    U.S. Government                  3                    Federal Question                                                          PTF        DEF                                           PTF DEF
           Plaintiff                              (U.S. Government Not a Party)                            Citizen of This State           1           1     Incorporated or Principal Place          4      4
                                                                                                                                                             of Business In This State

    2    U.S. Government                  4                       Diversity                                Citizen of Another State            2         2   Incorporated and Principal Place          5       5
           Defendant                              (Indicate Citizenship of Parties in Item III)                                                                 of Business In Another State

                                                                                                           Citizen or Subject of a             3         3   Foreign Nation                            6       6
                                                                                                             Foreign Country
IV. NATURE OF SUIT                    (Place an “X” in One Box Only)                                    Click here for: Nature of Suit Code Descriptions
           CONTRACT                                           TORTS                                          FORFEITURE/PENALTY                      BANKRUPTCY                         OTHER STATUTES
  110 Insurance                         PERSONAL INJURY                   PERSONAL INJURY                     625 Drug Related Seizure             422 Appeal 28 USC 158              375 False Claims Act
  120 Marine                            310 Airplane                      365 Personal Injury -                   of Property 21 USC 881           423 Withdrawal                     376 Qui Tam (31 USC
  130 Miller Act                        315 Airplane Product                  Product Liability               690 Other                                28 USC 157                       3729 (a))
  140 Negotiable Instrument                  Liability                    367 Health Care/                                                                                            400 State Reapportionment
  150 Recovery of Overpayment           320 Assault, Libel &                  Pharmaceutical                                                        PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment              Slander                          Personal Injury                                                      820 Copyrights                     430 Banks and Banking
  151 Medicare Act                      330 Federal Employers’                Product Liability                                                    830 Patent                         450 Commerce
  152 Recovery of Defaulted                  Liability                    368 Asbestos Personal                                                    835 Patent – Abbreviated           460 Deportation
                                                                                                                                                   New Drug Application
      Student Loans                     340 Marine                            Injury Product                                                       840 Trademark                      470 Racketeer Influenced and
      (Excl. Veterans)                  345 Marine Product                    Liability                                LABOR                         SOCIAL SECURITY                  Corrupt Organizations
  153 Recovery of Overpayment                Liability                   PERSONAL PROPERTY                    710 Fair Labor Standards             861 HIA (1395ff)                   480 Consumer Credit
      of Veteran’s Benefits             350 Motor Vehicle                 370 Other Fraud                         Act                              862 Black Lung (923)               490 Cable/Sat TV
  160 Stockholders’ Suits               355 Motor Vehicle                 371 Truth in Lending                720 Labor/Mgmt. Relations            863 DIWC/DIWW (405(g))             850 Securities/Commodities/
  190 Other Contract                        Product Liability             380 Other Personal                  740 Railway Labor Act                864 SSID Title XVI                 Exchange
  195 Contract Product Liability        360 Other Personal                    Property Damage                 751 Family and Medical               865 RSI (405(g))                   890 Other Statutory Actions
  196 Franchise                             Injury                        385 Property Damage                     Leave Act                                                           891 Agricultural Acts
                                        362 Personal Injury -                 Product Liability               790 Other Labor Litigation                                              893 Environmental Matters
                                            Med. Malpractice                                                  791 Empl. Ret. Inc.                                                     895 Freedom of Information
       REAL PROPERTY                       CIVIL RIGHTS                  PRISONER PETITIONS                       Security Act                      FEDERAL TAX SUITS                 Act
    210 Land Condemnation               440 Other Civil Rights             Habeas Corpus:                                                          870 Taxes (U.S. Plaintiff          896 Arbitration
    220 Foreclosure                     441 Voting                         463 Alien Detainee                                                          or Defendant)                  899 Administrative Procedure
    230 Rent Lease & Ejectment          442 Employment                     510 Motions to Vacate                                                   871 IRS—Third Party 26             Act/Review or Appeal of
                                                                           Sentence                                                                USC 7609
    240 Torts to Land                   443 Housing/                          Other:                                                                                                  Agency Decision
                                        Accommodations
    245 Tort Product Liability          445 Amer. w/Disabilities -         530 General                            IMMIGRATION                                                         950 Constitutionality of State
                                                                                                                                                                                      Statutes
    290 All Other Real Property             Employment                     535 Death Penalty                  462 Naturalization Application
                                        446 Amer. w/Disabilities -         540 Mandamus & Other               465 Other Immigration
                                            Other                          550 Civil Rights                       Actions
                                        448 Education                      555 Prison Condition
                                                                           560 Civil Detainee –
                                                                           Conditions of
                                                                           Confinement
V. ORIGIN                   (Place an “X” in One Box Only)
                                                                                               Transferred from             6 Multidistrict
    1    Original          2 Removed         3 Re-filed            4 Reinstated           5                                                         7 Appeal to               8 Multidistrict
         Proceeding          from State        (See VI               or                        another district             Litigation
                                                                                                                                                      District Judge            Litigation      9 Remanded   from
                                                                                                                                                                                                  Appellate Court
                             Court             below)                Reopened                  (specify)                    Transfer
                                                                                                                                                      from Magistrate           – Direct
                                                                                                                                                      Judgment                  File

VI. RELATED/                              (See instructions): a) Re-filed Case                    YES         NO             b) Related Cases           YES           NO
RE-FILED CASE(S)                                          JUDGE: Donald M.                    Middlebrooks             *SEE ATTACHMENT* DOCKET NUMBER: 9:19-cv-81700

                                          Cite the U.S. Civil Statute under which you are filing and Write a Brief Statement of Cause (Do not cite jurisdictional statutes unless diversity):
VII. CAUSE OF ACTION                          28 U.S.C 1332; 28 U.S.C. 1367; 18 U.S.C. 1836(c): Defend Trade Secrets Act; Fla. Stat. 688.001: Fla. Uniform Trade Secrets Act; Fla. Stat. 501.201, Fla.
                                              Deceptive and Unfair Trade Practices Act
                                          LENGTH OF TRIAL via                      days estimated (for both sides to try entire case)
VIII. REQUESTED IN                               CHECK IF THIS IS A CLASS ACTION
                                                                                                              DEMAND $                                   CHECK YES only if demanded in complaint:
     COMPLAINT:                                  UNDER F.R.C.P. 23
                                                                                                                                                       JURY DEMAND:                      Yes          No
ABOVE INFORMATION IS TRUE & CORRECT TO THE BEST OF MY KNOWLEDGE
DATE                                                                             SIGNATURE OF ATTORNEY OF RECORD
         09/03/2020
                                                                                              /s/ Alec P. Hayes, Esq.
FOR OFFICE USE ONLY
RECEIPT #                             AMOUNT                       IFP                     JUDGE                                           MAG JUDGE

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                                UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                              CASE NO.: 19-cv-81700-MIDDLEBROOKS

HEALTHCARE RESOURCES
MANAGEMENT GROUP, LLC,

       Plaintiff,

       v.

ECONATURA ALL HEALTHY
WORLD, LLC, MEDTERRA CBD,
LLC, REJUVENOL LABORATORIES,
INC., and NOXENO HEALTH
SCIENCES, INC.,

      Defendants.
___________________________________/

                                                  ORDER

       THIS CAUSE comes before the Court upon Plaintiff Healthcare Resources Management Group,

LLC’s “Pro Se Motion for Extension of Time to Obtain New Counsel,” filed on May 18, 2020. (DE 51).

All Defendants have filed separate responses in opposition to the Motion. (DE 52; DE 53; DE 54; DE 55).

For the following reasons, the Motion is stricken, and Plaintiff’s Amended Complaint is dismissed without

prejudice.

       On April 24, 2020, Plaintiff’s counsel moved to withdraw as counsel of record. (DE 44). I granted

the motion on April 27, 2020. (DE 45). In that Order, I recognized that because Plaintiff is an artificial

entity, it must be represented by counsel and is unable to proceed pro se. (Id. at 1). Plaintiff was provided

twenty-days to secure replacement counsel, meaning that replacement counsel was required to enter a

notice of appearance by May 18, 2020. (Id. at 2). Plaintiff was advised that “[f]ailure to obtain replacement

counsel by that day may result in dismissal of this action for failure to prosecute.” (Id.).

       On the deadline to obtain replacement counsel, Sam Genovese—the managing member of Plaintiff

Healthcare Resources Management Group, LLC—moved for an extension of time obtain replacement

counsel. (DE 51). Defendant MedTerra CBD initially argues that I should disregard this filing because
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artificial entities must be represented by counsel.1 (DE 54 at 1). I agree. As discussed, artificial entities

may not represent themselves pro se. See Palazzo v. Gulf Oil Corp., 764 F.2d 1381, 1385 (11th Cir. 1985)

(“The rule is well established that a corporation is an artificial entity that . . . cannot appear pro se, and

must be represented by counsel.”). Accordingly, Genovese’s Motion is a nullity and must be stricken.

       Moreover, even if I were to reach the merits of the Motion, I would deny it for two reasons. As an

initial matter, pursuant to S.D. Fla. Local Rule 7.1(a)(3), prior to filing any motion in a civil case, counsel

for the moving party shall certify “that counsel for the movant has conferred with all parties or non-parties

who may be affected by the relief sought in the motion in a good faith effort to resolve the issues raised

in the motion and has been unable to do so.” S.D. Fla. L.R. 7.1(a)(3). Plaintiff’s Motion fails to include

such a certification, which would be reason alone to deny the Motion.

       More fundamentally, Defendant MedTerra argues and I agree that Plaintiff has failed to establish

that despite its diligence, it could not comply with the deadline to obtain replacement counsel. The

Scheduling Order, which encompasses other deadlines set throughout litigation, may be modified only

“upon a showing of good cause.” Fed. R. Civ. P. 16(b)(4). “This good cause standard precludes

modification unless the schedule cannot ‘be met despite the diligence of the party seeking the extension.’”

Sosa v. Airprint Sys., Inc., 133 F.3d 1417, 1418 (11th Cir. 1998) (citing Fed. R. Civ. P. 16 advisory

committee’s note).

       The record here demonstrates that Plaintiff has been far from diligent in litigating this matter.

Plaintiff first filed a motion to modify the scheduling order on February 5, 2020. (DE 8). Plaintiff initially

requested the modification because its then counsel had a conflict with the August 17 trial date in this

matter. I rejected this argument as premature. Additionally, I declined to extend any deadline within the

Pretrial Scheduling Order because it failed to explain how Plaintiff had been diligently litigating this




1
 I focus on Defendant MedTerra’s response because it succinctly captures all of the reasons why Plaintiff
is not entitled to the requested relief.
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matter. (DE 9). It similarly failed to describe any obstacles Plaintiff expected to encounter throughout

discovery that would render the current litigation schedule impractical. (Id.). That order was entered on

February 6, 2020, meaning Plaintiff has been on notice for over three months as to what it would have to

establish to obtain an extension of any deadline in this matter.

       Plaintiff subsequently filed two motions to extend the expert disclosure deadlines. The first motion

was filed on March 9, 2020. (DE 31). At that time, Plaintiff’s deadline to disclose expert witnesses was

March 9, 2020. (Id.). Plaintiff’s motion established that it had been able to retain all experts except for an

expert on damages. (Id. at 2). It further established that it had been in talks with such an expert; however,

the expert ultimately declined to represent Plaintiff, as he could not prepare the report under the current

schedule. (Id. at 3). In light of these representations, I found good cause to grant a limited extension of the

expert deadline. (DE 32).

       On April 16, 2020, the Parties moved for a further extension of the expert disclosure deadlines.

(DE 42). In light of the fact that the motion was filed by all Parties and they represented that the requested

extension would not alter any other deadline in this litigation, I granted the motion. (DE 43).

       In between the motions seeking an extension of the expert disclosure deadlines, Plaintiff filed a

motion to vacate the Pretrial Scheduling Order and to reset the trial date. (DE 36). Plaintiff filed this

motion even though it had been informed on multiple occasions that extensions of deadlines would only

be granted if the moving party pleads specific facts demonstrating that despite its diligence, it could not

comply with the current deadline(s). (See, e.g., DE 9). Even with these warnings, Plaintiff’s successive

motion to vacate the Pretrial Scheduling Order did not sufficiently explain how despite its diligence, it

was unable to comply with the deadlines. (DE 36). Instead, Plaintiff requested suspending all deadlines

due to the business disruption caused by Covid-19. (Id. at 6). To its credit, Plaintiff provided some detail

as to how the ongoing pandemic had affected its ability to litigate this matter. (Id. at 4). At the same time,




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the motion failed to indicate why Plaintiff had not conducted the impacted discovery before the pandemic

truly affected this country.

        Even considering these deficiencies, I granted the motion in part. (DE 39). I declined Plaintiff’s

invitation to indefinitely suspend all deadlines in its own case. Instead, I granted an extension of the

discovery deadline and the deadline to file dispositive motions. (Id.). This determination was based upon

the fact that Plaintiff described how the ongoing pandemic had affected its ability to litigate this case. (Id.

at 2). However, I cautioned Plaintiff that if it sought any further extension, it should be prepared to describe

what actions were taken to complete the impacted discovery during the several months this case had been

pending before Covid-19 impacted the United States. (Id. at 2-3).

        Needless to say, this record demonstrates that Plaintiff has not diligently litigated this case. With

this backdrop, I turn to the present Motion, in which Genovese (impermissibly) seeks an additional twenty-

days to obtain replacement counsel. (DE 51). Genovese makes this request because he has been unable to

secure replacement counsel due to disruption caused by Covid-19. Genovese states that it has been

“diligently seeking representation from new counsel in, but due to several law offices being closed and

the associated difficulty in contacting attorneys, Plaintiff has been unable to secure new counsel.” (Id. at

1). Genovese further states that it recently contacted a law firm who is considering representing Plaintiff;

however, that firm has not yet agreed to represent Plaintiff. (Id. at 2).

        In response, Defendant MedTerra contends that Plaintiff’s pandemic related arguments are “vague

excuses for not being able to retain counsel.” (DE 54 at 2). MedTerra specifically states that Genovese’s

“claim is disingenuous, as attorneys and staff across Florida continue to work remotely or, in some cases,

continue to work from their offices.” (Id.).

        In light of the several instructions provided regarding obtaining extensions of time, I agree with

MedTerra that Genovese fails to establish that he has diligently attempted to obtain replacement counsel.

Plaintiff’s then counsel moved to withdraw on April 24, 2020, meaning Genovese has known for at least


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twenty-six days that he needed to obtain replacement counsel. Yet, aside from generally stating that law

firms declined to represent Plaintiff due to the ongoing pandemic, Genovese fails to offer any specific

details, i.e., the number of firms contacted, when they were contacted, when they declined to represent

Plaintiff, and why they declined. Genovese similarly fails to provide any information regarding the firm

that is apparently considering representing Plaintiff. Thus, even if the present Motion were to be

considered on the merits, it would be denied because the record demonstrates that Plaintiff has not

diligently litigated this matter. And Plaintiff has not established that despite its diligence, it has been

unable to timely obtain replacement counsel.

       Additionally, MedTerra’s response to the present Motion establishes that Defendants would be

prejudiced if any further extension is given. MedTerra specifically states that:

       the discovery cutoff in this case is less than a month from today. Plaintiff has failed to
       respond to MedTerra’s discovery requests (originally due on April 2 but extended the first
       time through April 22, and the second time through April 29 by request of prior counsel),
       and Plaintiff has missed its deadline to designate an expert (May 15). Indeed, Plaintiff has
       not even produced its purported “proprietary formula” to any of the Defendants – the
       lynchpin of Plaintiff’s case that gives rise to all of Plaintiff’s claims. To permit Plaintiff
       another 20 days to retain counsel would cause extreme prejudice to Medterra, given the
       current pre-trial deadlines and upcoming August 17 trial date.

(DE 54 at 2-3). This response further describes how Plaintiff has not diligently litigated this matter.

Defendants should not be penalized for Plaintiff’s dilatory conduct. Defendants are entitled to a timely

resolution of this matter and given the posture of this case and the manner in which Plaintiff has litigated

it, Defendants would be prejudiced if extensions are granted.

       Finally, because Plaintiff is an artificial entity which must be represented by counsel, I will dismiss

the Amended Complaint for failure to prosecute. See Fed. R. Civ. P. 41(b); see also Duong Thahn Ho. V.

Costello, 757 F. App’x 912, 914 (11th Cir. 2018) (“Although the plain language of Rule 41(b) indicates

that a defendant may move for dismissal, a district court may sua sponte dismiss a case under the authority

of either Rule 41(b) or the court’s inherent power to manage its docket.”).



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      Accordingly, it is ORDERED AND ADJUDGED that:

      1. Plaintiff’s “Pro Se Motion for Extension of Time to Obtain New Counsel” (DE 51) is

         STRICKEN.

      2. Plaintiff’s Amended Complaint (DE 5) is DISMISSED WITHOUT PREJUDICE.

      3. The Clerk of Court shall CLOSE THIS CASE and DENY AS MOOT all pending motions.


      SIGNED in Chambers in West Palm Beach, Florida, this 21st day of May, 2020.



                                               ___________________________________
                                               DONALD M. MIDDLEBROOKS
                                               UNITED STATES DISTRICT JUDGE


cc:   Counsel of Record;
      Healthcare Resources Management Group, LLC
      1288 NW 16 Street
      Boca Raton, FL 33486




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